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1    Kenneth A. Gallo (pro hac vice)
     Joseph J. Simons (pro hac vice)
2    Craig A. Benson (pro hac vice)
     PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
3    2001 K Street, NW
     Washington, DC 20006-1047
4    Telephone: (202) 223-7300
     Facsimile: (202) 223-7420
5    Email: kgallo@paulweiss.com
     Email: jsimons@paulweiss.com
6    Email: cbenson@paulweiss.com
7    Stephen E. Taylor (SBN 058452)
     Jonathan A. Patchen (SBN 237346)
8    TAYLOR & COMPANY LAW OFFICES, LLP
     One Ferry Building, Suite 355
9    San Francisco, California 94111
     Telephone: (415) 788-8200
10   Facsimile: (415) 788-8208
     Email: staylor@tcolaw.com
11   Email: jpatchen@tcolaw.com
12   Attorneys for Plaintiffs Sharp Electronics Corporation and
     Sharp Electronics Manufacturing Company of America, Inc.
13
     [additional counsel listed on signature page]
14
                                 UNITED STATES DISTRICT COURT
15                             NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
16
     In re: CATHODE RAY TUBE (CRT)                              Master File No. 3:07-cv-5944 SC
17   ANTITRUST LITIGATION                                       MDL No. 1917
18   This Document Relates To:                                  DIRECT ACTION PLAINTIFFS’
                                                                MOTION TO ISSUE A LETTER OF
19   Sharp Electronics Corp., et al. v. Hitachi Ltd., et al.,   REQUEST FOR INTERNATIONAL
     No. 13-cv-1173;                                            JUDICIAL ASSISTANCE TO TAKE
20                                                              DEPOSITIONS IN FRANCE
     Electrograph Systems, Inc. et al. v. Technicolor SA,
21   et al., No. 13-cv-05724;                                   (CIVIL LOCAL RULE 7-11)
22   Siegel v. Technicolor SA, et al., No. 13-cv-05261;
23   Best Buy Co., Inc., et al. v. Technicolor SA, et al.,
     No. 13-cv-05264;
24
     Target Corp. v. Technicolor SA, et al., No. 13-cv-
25   05686;
26   Interbond Corporation of America v. Technicolor
     SA, et al., No. 13-cv-05727;
27
     Office Depot, Inc. v. Technicolor SA, et al., No. 13-
28   cv-05726;

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     Costco Wholesale Corporation v. Technicolor SA, et
1    al., No. 13-cv-05723;
2    P.C. Richard & Son Long Island Corporation, et al.
     v. Technicolor SA, et al., No. 13-cv-05725;
3
     Schultze Agency Services, LLC v. Technicolor SA,
4    Ltd., et al., No. 13-cv-05668;
5    Sears, Roebuck and Co. and Kmart Corp. v.
     Technicolor SA, No. 13-cv-05262;
6
     Tech Data Corp., et al. v. Hitachi, Ltd., et al., No.
7    13-cv-00157;
8    Crago, et al. v. Mitsubishi Electric Corp., No.
     14-cv-02058;
9
     Viewsonic Corp. v. Chunghwa Picture Tubes, Ltd.,
10   et al., No. 14-cv-2510.
11

12                  Direct Action Plaintiffs (“DAPs”) move for an order, pursuant to Civil Local Rule
13   7-11, to issue a letter of request to take deposition testimony of four former employees of
14   defendant Thomson SA, pursuant to the Hague Convention of 18 March 1970 on the Taking of
15   Evidence Abroad in Civil or Commercial Matters (“the Hague Convention”).
16                  The European Commission fined Thomson SA’s successor corporation,
17   Technicolor SA, € 38,631,000 for its role in the global CPT conspiracy between March 1999 and
18   September 2005. The underlying letter of request solicits deposition testimony from the
19   following former Thomson SA employees located in France:
20                 Emeric Charamel;
21                 Christian Lissorgues;
22                 Agnes Martin; and
23                 Didier Trutt.
24                  These individuals have been identified by DAPs as having specific knowledge
25   relevant to this case. Documents produced by Thomson Consumer, the U.S.-based subsidiary of
26   Thomson SA, which were included in Thomson Consumer’s submission to the U.S. Department
27   of Justice in connection with the CRT investigation, reflect that each of the four individuals was
28   involved in meetings and communications associated with the CRT conspiracy. Emeric
                                                       -2-
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1    Charamel was the General Manager for Thomson SA’s European Sales and then the General

2    Manager for Europe Sales & Marketing at Videocon.1 Christian Lissorgues was Vice President

3    for Marketing and Sales at Thomson SA. Agnes Martin was Thomson SA’s Marketing

4    Communications Manager. Didier Trutt was Senior Executive Vice President of Thomson SA

5    and also held a seat on Videocon’s Executive Board.

6                      Testimony from these witnesses will provide important information in support of

7    DAPs’ claims. Testimony from these four former employees concerning documents evidencing

8    conspiracy-related communications and/or meetings between Thomson SA and other CRT

9    manufacturers bears directly on Thomson SA’s liability for the antitrust harm to DAPs caused by

10   the conspiracy. Additionally, testimony concerning Thomson SA’s relationship with Thomson

11   Consumer will be important in demonstrating Thomson SA’s contacts with the United States and

12   its control over the finances, policies, and/or affairs of Thomson Consumer, which is particularly

13   important in light of the fact that Thomson has produced relatively little evidence compared to

14   other defendants.2 Finally, testimony from Mr. Charamel and Mr. Trutt will help explain the

15   continued relationship between Thomson and Videocon, the alleged co-conspirator that

16   purchased Thomson’s CRT assets in 2005.

17                     DAPs have diligently pursued the discovery sought here. DAPs first identified

18   Christian Lissorgues and Emeric Charamel as possible targets for deposition in April 2014 and

19   June 2014 based on references to them in documents produced by other defendants.3 However,

20   DAPs were aware that they had a limited number of depositions for Thomson pursuant to the

21   discovery protocol in this action (MDL Dkt. No. 1128), and sought to review Thomson’s

22   document production in order to confirm which witnesses could provide relevant testimony

23
     1
24     Videocon is a defendant and alleged co-conspirator: it was the successor-in-interest to
     Thomson’s international CRT interests, and Thomson took an ownership interest in Videocon in
25   connection with that sale transaction in 2005. See Thomson SA Answer to Sharp First Amended
     Complaint ¶¶ 9-10, 16, 18 (Dkt. No. 114).
     2
26     Thomson has produced about 15,000 documents. The other defendants have collectively
     produced over 1.1 million documents. See Declaration of Craig A. Benson in Support of DAPs’
27   Motion to Extend ¶¶ 6-7 (MDL Dkt. No. 2773-1) (“Benson Decl.”).
     3
       See Benson Decl. Exs. 8 and 27. DAPs could not identify Agnes Martin or Didier Trutt as
28   potential deponents until after reviewing Thomson Consumer’s document productions in July
     2014.
                                                    -3-
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1    concerning Thomson’s liability. It was only after DAPs had an opportunity to review Thomson

2    Consumer’s documents – which were first produced in late June 2014 – that DAPs could make a

3    concrete determination that Mr. Lissorgues and Mr. Charamel were meaningfully involved in

4    meetings and communications associated with Thomson’s role in the CRT conspiracy and that

5    their testimony would be important to establishing Thomson’s liability. DAPs could not

6    reasonably have sought the only depositions they would get of these French witnesses without

7    having any of Thomson’s own documents about which to question them. Furthermore, Thomson

8    Consumer’s minimal production of documents pertaining to its parent Thomson SA – which

9    became apparent only after reviewing Thomson Consumer’s documents in July and August 2014

10   – made clear the need for testimony from Thomson SA witnesses that reside in France.

11   Additionally, deposition testimony of the first Thomson witness to be deposed (James

12   Hanrahan), which occurred on August 27, 2014, further confirmed these four witnesses’ central

13   role in Thomson’s global CRT business. DAPs note that Thomson SA has continued to refuse to

14   produce any responsive documents located in France, which are likely to contain evidence of the

15   participation of these Thomson SA employees in the CRT conspiracy. Pursuant to the Court’s

16   order related to the Viewsonic action, Thomson will be participating in fact discovery in this

17   MDL litigation through at least November 7, 2014. (MDL Dkt. No. 2711.)

18                     After reviewing Thomson Consumer’s first document productions in July 2014,

19   DAPs actively conferred with Thomson regarding their objections to discovery requests based on

20   the French Blocking statute, the completeness of their document productions (including

21   documents in the custody of French witnesses), their position on the use of the Hague

22   Convention, and the timing of Thomson’s fact depositions, as required by the discovery

23   protocol.4 On August 8, 2014, DAPs timely served notices of deposition to the aforementioned

24   individuals.5 On August 12, and again on August 22, DAPs and Thomson conferred to discuss

25   Thomson’s objections to the deposition notices for Mr. Charamel, Mr. Lissorgues, Ms. Martin,

26   and Mr. Trutt, and to discuss DAPs’ request for the aforementioned individuals’ contact

27   4
       See Order re Discovery and Case Management Protocol, Section VI. (April 3, 2012), MDL Dkt.
28   No. 1128; Benson Decl. Ex. 31.
     5
       See Benson Decl. Exs. 43-46.
                                               -4-
         DIRECT ACTION PLAINTIFFS’ MOTION TO ISSUE A LETTER OF REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
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1    information.6 DAPs now timely move for an order permitting the commencement of Hague

2    Procedures to secure the depositions of Mr. Charamel, Mr. Lissorgues, Ms. Martin, and Mr. Trutt

3    to acquire evidence important to effectively prosecute their antitrust claims against Thomson

4    SA. The underlying letter of request (Attachment A to the Proposed Order) solicits from

5    Thomson SA this deposition testimony.

6                      This Court has the authority to issue the requested commission pursuant to the All

7    Writs Act, 28 U.S.C. § 1651 and its Civil Local Rule 7-11. There is also precedent in this case

8    for the requested action. See Order Granting Motion for Issuance of Letters Rogatory (Kim

9    Woong Tae), Dkt. No. 2601 (May 30, 2014); Order Granting Motion for Issuance of Letters

10   Rogatory (Kim Kyung Joon), Dkt. No. 2601 (May 30, 2014); Order Granting Motion for

11   Issuance of Letters Rogatory (Leo Mink), Dkt. No. 2350 (April 11, 2014).

12                     Given the relevance and importance of the proposed deposition testimony and the

13   upcoming trial date of March 9, 2015, DAPs respectfully request that this motion for issuance of

14   letters rogatory be granted, and that the District Court for the Northern District of California

15   issue the attached Letter of Request to the French Central Authority.

16

17   Dated: August 28, 2014                    Respectfully submitted,

18                                             By: /s/ Craig A. Benson

19                                             Kenneth A. Gallo (pro hac vice)
                                               Joseph J. Simons (pro hac vice)
20                                             Craig A. Benson (pro hac vice)
                                               PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
21                                             2001 K Street, NW
                                               Washington, DC 20006
22                                             Telephone: (202) 223-7300
                                               Facsimile: (202) 223-7420
23                                             Email: kgallo@paulweiss.com
                                               Email: jsimons@paulweiss.com
24                                             Email: cbenson@paulweiss.com

25                                             Stephen E. Taylor (SBN 058452)
                                               Jonathan A. Patchen (SBN 237346)
26                                             TAYLOR & COMPANY LAW OFFICES, LLP
                                               One Ferry Building, Suite 355
27

28   6
         See Benson Decl. Exs. 47, 49, 50.
                                                        -5-
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                                           San Francisco, CA 94111
1                                          Telephone: (415) 788-8200
                                           Facsimile: (415) 788-8208
2                                          Email: staylor@tcolaw.com
                                           Email: jpatchen@tcolaw.com
3
                                           Attorneys for Plaintiffs Sharp Electronics Corporation
4                                          and Sharp Electronics Manufacturing Company of
                                           America, Inc.
5

6                                          By: /s/ David J. Burman
7                                          David J. Burman (pro hac vice)
                                           Cori G. Moore (pro hac vice)
8                                          Eric J. Weiss (pro hac vice)
                                           Nicholas H. Hesterberg (pro hac vice)
9                                          Steven D. Merriman (pro hac vice)
                                           Perkins Coie LLP
10                                         1201 Third Avenue, Suite 4900
                                           Seattle, WA 98101-3099
11                                         Telephone: 206.359.8000
                                           Facsimile: 206.359.9000
12                                         Email: DBurman@perkinscoie.com
                                           Email: CGMoore@perkisncoie.com
13                                         Email: EWeiss@perkinscoie.com
                                           Email: NHesterberg@perkinscoie.com
14                                         Email: SMerriman@perkinscoie.com
15                                         Joren Bass, Bar No. 208143
                                           JBass@perkinscoie.com
16                                         Perkins Coie LLP
                                           Four Embarcadero Center, Suite 2400
17                                         San Francisco, CA 94111-4131
                                           Telephone: 415.344.7120
18                                         Facsimile: 415.344.7320
19                                         Attorneys for Plaintiff Costco Wholesale Corporation
20
                                           By: /s/ Philip J. Iovieno
21
                                           William A. Isaacson
22                                         BOIES, SCHILLER & FLEXNER LLP
                                           5301 Wisconsin Ave. NW, Suite 800
23                                         Washington, D.C. 20015
                                           Telephone: (202) 237-2727
24                                         Facsimile: (202) 237-6131
                                           Email: wisaacson@bsfllp.com
25
                                           Stuart Singer
26                                         BOIES, SCHILLER & FLEXNER LLP
                                           401 East Las Olas Blvd., Suite 1200
27                                         Fort Lauderdale, FL 33301
                                           Telephone: (954) 356-0011
28
                                                    -6-
     DIRECT ACTION PLAINTIFFS’ MOTION TO ISSUE A LETTER OF REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
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                                           Facsimile: (954) 356-0022
1                                          Email: ssinger@bsfllp.com
2                                          Philip J. Iovieno
                                           Anne M. Nardacci
3                                          BOIES, SCHILLER & FLEXNER LLP
                                           30 South Pearl Street, 11th Floor
4                                          Albany, NY 12207
                                           Telephone: (518) 434-0600
5                                          Facsimile: (518) 434-0665
                                           Email: piovieno@bsfllp.com
6                                          Email: anardacci@bsfllp.com
7                                          Liaison Counsel for Direct Action Plaintiffs and
                                           Attorneys for Plaintiffs Electrograph Systems, Inc.,
8                                          Electrograph Technologies Corp., Office Depot, Inc.,
                                           Interbond Corporation of America, P.C. Richard & Son
9                                          Long Island Corporation, MARTA Cooperative of
                                           America, Inc., ABC Appliance, Inc., Schultze Agency
10                                         Services LLC on behalf of Tweeter Opco, LLC and
                                           Tweeter Newco, LLC and Tech Data Corporation and
11                                         Tech Data Product Management, Inc.
12
                                           By: /s/ Scott N. Wagner
13
                                           Robert W. Turken
14                                         Scott N. Wagner
                                           Mitchell E. Widom
15                                         Bilzin Sumberg Baena Price & Axelrod LLP
                                           1450 Brickell Ave, Suite 2300
16                                         Miami, FL 33131-3456
                                           Tel: 305-374-7580
17                                         Fax: 305-374-7593
                                           Email: rturken@bilzin.com
18                                         Email: swagner@bilzin.com
                                           Email: mwidom@bilzin.com
19
                                           Attorneys for Plaintiffs Tech Data Corporation and
20                                         Tech Data Product Management, Inc.
21
                                           By: /s/ David Martinez
22
                                           Roman M. Silberfeld, (SBN 62783)
23                                         David Martinez, (SBN 193183)
                                           Jill Casselman
24                                         ROBINS, KAPLAN, MILLER & CIRESI L.L.P.
                                           2049 Century Park East, Suite 3400
25                                         Los Angeles, CA 90067-3208
                                           Telephone: (310) 552-0130
26                                         Facsimile: (310) 229-5800
                                           Email: RMSilberfeld@rkmc.com
27                                         Email: DMartinez@rkmc.com
                                           Email: jcasselman@rkmc.com
28
                                                    -7-
     DIRECT ACTION PLAINTIFFS’ MOTION TO ISSUE A LETTER OF REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
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                                           Elliot S. Kaplan
1                                          K. Craig Wildfang
                                           Laura E. Nelson
2                                          ROBINS, KAPLAN, MILLER & CIRESI L.L.P.
                                           800 LaSalle Avenue
3                                          2800 LaSalle Plaza
                                           Minneapolis, MN 55402
4                                          Telephone: (612) 349-8500
                                           Facsimile: (612) 339-4181
5                                          Email: eskaplan@rkmc.com
                                           kcwildfang@rkmc.com
6                                          lenelson@rkmc.com
7                                          Attorneys for Plaintiffs Best Buy Co., Inc., Best Buy
                                           Purchasing LLC, Best Buy Enterprise Services, Inc.,
8                                          Best Buy Stores, L.P., Bestbuy.com, L.L.C., and
                                           Magnolia Hi-Fi, Inc.
9
10                                         By: /s/ Lee Godfrey
11                                         H. Lee Godfrey
                                           Kenneth S. Marks
12                                         Jonathan J. Ross
                                           Johnny W. Carter
13                                         David M. Peterson
                                           SUSMAN GODFREY L.L.P.
14                                         1000 Louisiana Street, Suite 5100
                                           Houston, TX 77002
15                                         Telephone: (713) 651-9366
                                           Facsimile: (713) 654-6666
16                                         Email: lgodfrey@susmangodfrey.com
                                           Email: kmarks@susmangodfrey.com
17                                         Email: jross@susmangodfrey.com
                                           Email: jcarter@susmangodfrey.com
18                                         Email: dpeterson@susmangodfrey.com
19                                         Parker C. Folse III
                                           Rachel S. Black
20                                         Jordan Connors
                                           SUSMAN GODFREY L.L.P.
21                                         1201 Third Avenue, Suite 3800
                                           Seattle, WA 98101-3000
22                                         Telephone: (206) 516-3880
                                           Facsimile: (206) 516-3883
23                                         Email: pfolse@susmangodfrey.com
                                           Email: rblack@susmangodfrey.com
24                                         Email: jconnors@susmangodfrey.com
25                                         Attorneys for Plaintiff Alfred H. Siegel, as Trustee of the
                                           Circuit City Stores, Inc. Liquidating Trust
26

27

28
                                                    -8-
     DIRECT ACTION PLAINTIFFS’ MOTION TO ISSUE A LETTER OF REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
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1                                           By: /s/ Jason Murray

2                                           Jason C. Murray (CA Bar No. 169806)
                                            CROWELL & MORING LLP
3                                           515 South Flower St., 40th Floor
                                            Los Angeles, CA 90071
4                                           Telephone: 213-443-5582
                                            Facsimile: 213-622-2690
5                                           Email: jmurray@crowell.com

6                                           Jerome A. Murphy (pro hac vice)
                                            Astor H.L. Heaven (pro hac vice)
7                                           CROWELL & MORING LLP
                                            1001 Pennsylvania Avenue, N.W.
8                                           Washington, D.C. 20004
                                            Telephone: 202-624-2500
9                                           Facsimile: 202-628-5116
                                            E-mail: jmurphy@crowell.com
10                                          aheaven@crowell.com

11                                          Attorneys for Target Corp. and ViewSonic Corp.

12
                                            By: /s/ Richard Arnold
13
                                            Richard Alan Arnold
14                                          William J. Blechman
                                            Kevin J. Murray
15                                          KENNY NACHWALTER, P.A.
                                            201 S. Biscayne Blvd., Suite 1100
16                                          Miami, FL 33131
                                            Tel: 305-373-1000
17                                          Fax: 305-372-1861
                                            Email: rarnold@knpa.com
18                                          Email: wblechman@knpa.com
                                            Email: kmurray@knpa.com
19
                                            Attorneys for Plaintiff Sears, Roebuck and Co. and
20                                          Kmart Corp.
21

22                                      E-FILING ATTESTATION

23          I, Craig A. Benson, am the ECF user whose ID and password are being used to file the

24   Direct Action Plaintiffs’ Motion to Issue a Letter of Request for International Judicial Assistance

25   to Take Depositions in France (Civil Local Rule 7-11). In compliance with Civil Local Rule

26   5-1(i)(3), I hereby attest that each listed counsel above has concurred in this filing.

27   Dated: August 28, 2014                              /s/ Craig A. Benson
                                                           Craig A. Benson
28
                                                     -9-
     DIRECT ACTION PLAINTIFFS’ MOTION TO ISSUE A LETTER OF REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
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